In this action, after judgment for defendant for his costs, the trial court granted plaintiff's motion for a new trial, which was based upon the grounds, among others, that the evidence was insufficient to justify certain findings, and that the court failed to find upon material issues. Defendant appeals.
As has been so often stated by appellate courts, the granting of a motion for a new trial or its refusal is largely a matter of discretion in the trial court, and where, as here, the evidence is sharply conflicting, the court may well, upon consideration of a motion for a new trial, take a different view of its effect than upon its first presentation, and arrive at the conclusion that its findings as made are insufficiently supported by it. With the discretion of the court thus exercised this court will not interfere.
The order is affirmed. *Page 112 